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  1                                             Hearing Date: October 25, 2006 at 10:00 a.m. (EDT)
                                             Response Deadline: October 13, 2006 at 4:00 p.m. (EDT)
  2
  3 CAMPEAU GOODSELL SMITH, L.C.
    WILLIAM J. HEALY, #146158
  4 38 West Santa Clara Street
    San Jose, California 95113
  5 Telephone: (408) 295-9555
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  6
    ATTORNEYS FOR CREDITOR
  7 Robert Membreno, Trustee of SAI Trust
  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                 SOUTHERN DISTRICT OF NEW YORK
 10
 11 _____________________________________
    In re:                                ) CHAPTER 11
 12                                       )
    CALPINE CORPORATION, et al,           ) Case No. 05-60200 (BRL)
 13                                       ) Jointly Administered
                                          )
 14                         Debtor.       )
                                          )
 15
    WITHDRAWAL OF LIMITED RESPONSE OF ROBERT MEMBRENO, TRUSTEE OF SAI
 16      TRUST TO DEBTORS’ FIRST OMNIBUS OBJECTION (DUPLICATIVE CLAIMS,
           BENEFICIAL NOTEHOLDER CLAIMS AND EQUITY INTEREST CLAIMS)
 17
    TO: THE HONORABLE BURTON R. LIFLAND
 18        UNITED STATES BANKRUPTCY JUDGE.
 19          Robert Membreno, Trustee of SAI Trust (“SAI”) files this Withdrawal Of Limited Response
 20 of Robert Membreno, Trustee of SAI Trust to Debtors’ First Omnibus Objection (Duplicative
 21 Claims, Beneficial Noteholder Claims and Equity Interest Claims), and in support hereof,
 22 respectfully states as follows:
 23          1.     On September 20, 2006, Calpine Corporation, et al., (the “Debtors”) filed the
 24 Debtors’ First Omnibus Objection (Duplicative Claims, Beneficial Noteholder Claims and Equity
 25 Interest Claims) (the “Objection”).
 26          2.     By the Objection, the Debtors seek to disallow (i) Kurtzman Carlson Consultants,
 27
 28

                      WITHDRAWAL OF LIMITED RESPONSE TO DEBTORS’ FIRST OMNIBUS OBJECTION
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  1 LLC’s (“KCC”) Claim1 No. 2800 of SAI filed against Geysers Power Company II, LLC on July 27,
  2 2006; (ii) KCC Claim No. 2801 of SAI filed against Geysers Power I Company on July 27, 2006;
  3 (iii) KCC Claim No. 2804 of SAI filed against Calpine Geysers Company, LP on July 27, 2006; (iv)
  4 KCC Claim No. 2807 of SAI filed against Anderson Springs Energy Company on July 27, 2006; and
  5 (v) KCC Claim No. 5613 of SAI filed against Geysers Power Company, LLC on July 27, 2006,
  6 solely on the ground that such claims are exact duplicates of other claims filed by SAI against one or
  7 more of the Debtors.
  8          3.     On October 13, 2006, SAI filed a Limited Response indicating, inter alia, the
  9 Objection was unclear as to which claims are to be expunged given the fact that the claim numbers
 10 referenced in the Objection are the numbers provided by KCC and are not the numbers on the
 11 official Claims Registers of each of the Debtors’ cases in this Court which SAI was provided at the
 12 time of filing its claims and suggested the claims were for $0.00.
 13          4.     On October 19, 2006, counsel for Debtors’ represented to SAI that this Court had
 14 issued an order that KCC’s claim numbers were the only and official claim numbers in Debtors’
 15 various cases and had not issued or assigned its own claim numbers. Although Debtors’ counsel was
 16 asked to forward such an order to SAI and no such order has been received, based on Debtors’
 17 counsel’s representation that SAI has remaining claims against each of the various Debtors,
 18 SAI does not oppose the relief sought by the Debtors and withdraws its limited response.
 19 Dated: October 20, 2006                                      CAMPEAU GOODSELL SMITH
 20                                                               /s/ William J. Healy
                                                                 William J. Healy
 21                                                              Attorneys for Creditor
 22
 23
 24
 25
 26
 27
      1
       KCC Claim numbers refer to the unofficial list of claims provided by KCC. All other claim
 28   numbers refer to the official Claims Register as maintained by the Bankruptcy Court
                      WITHDRAWAL OF LIMITED RESPONSE TO DEBTORS’ FIRST OMNIBUS OBJECTION
                                                       2
